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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION



UNITED STATES OF AMERICA


                                                             CR 1:15-077

VINCENT COLLEY




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Travers W. Chance having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Travers W. Chance be granted leave of

absence for the following periods: July 14, 2016 through July 25, 2016.

      This _2_ day ofJuly, 2016.



                                         HONQ&AftfcE'J. RANDAL HALL
                                         United Spates District Judge
                                                   District of Georgia
